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                                                                                United States District Court
                                                                                  Southern District of Texas
                                                                                     ENTERED
                                                                                     April 15, 2021
                                                                                  Nathan Ochsner, Clerk
                     UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF TEXAS
                          HOUSTON DIVISION

       UNITED STATES OF                  § CRIMINAL ACTION NO.
       AMERICA,                          § 4:20-cr-00582-1
                                         §
                                         §
                                         §
              vs.                        § JUDGE CHARLES ESKRIDGE
                                         §
                                         §
       HECTOR AARON RUIZ,                §
                Defendant.               §

                 MEMORANDUM AND ORDER DENYING
                MOTION TO REVOKE DETENTION ORDER
            The motion to revoke the Magistrate Judge’s detention order
       is denied. Dkt 27.
                 1. Background
            Defendant Hector Aaron Ruiz was an officer with the police
       department in the small city of Arcola, Texas, a distant suburb
       southwest of Houston. Dkt 17 at 3. The Government alleges that,
       in violation of 18 USC § 242, he sexually assaulted one woman in
       August 2019 and another in November 2019 while acting in his
       official capacity following traffic stops. It further alleges that, in
       violation of 18 USC § 924(c)(1)(A), Ruiz possessed a firearm
       during both crimes of violence. And it alleges that, in violation of
       18 USC § 1519, he obstructed justice by preventing audio
       recording of the November 2019 traffic stop. Dkt 1.
            Ruiz was initially arrested in November 2019 by the Fort
       Bend County Sheriff’s Office and charged with the second-
       degree felony of sexual assault. Dkt 22 at 4. Ruiz faces a sentence
       of between two and twenty years on that charge. He was released
       on bond in December 2019 pending trial and has yet to be tried.
       Dkt 24 at 36–37.
            Ruiz was then indicted by a federal grand jury in November
       2020 with reference to the charges stated above and arrested
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       shortly after. Dkts 1, 12. If convicted of the federal charges,
       application of the Sentencing Guidelines indicates that Ruiz now
       faces a very real possibility of life imprisonment. The base offense
       level is 30. See United States Sentencing Guidelines Manual
       § 2A3.1. Several enhancements could apply. For example, see
       USSG § 2A3.1(b)(1) (4-level enhancement for force or threats),
       § 2A3.1(b)(3) (2-level enhancement for victim in care, custody, or
       control), § 2A3.1(b)(5) (4-level enhancement for abduction),
       § 2H1.1(b)(1) (6-level enhancement for commission of offense
       under color of state law), § 3C1.1 (2-level enhancement for
       obstruction of justice). The offense level is thus a potential of
       level 48, where life imprisonment begins at level 43. Further
       potential exists for two additional mandatory five-year
       consecutive sentences under 18 USC § 924(c).
            Magistrate Judge Sam S. Sheldon held an arraignment and
       detention hearing on November 24, 2020. Ruiz pleaded not guilty
       to all counts. Dkt 27-2 at 6. Judge Sheldon entered an order of
       temporary detention pending further hearing. Dkt 9. He then
       held a second detention hearing on November 30, 2020. The
       Government moved that Ruiz be detained, arguing that he poses
       a threat to the community. Dkt 27-3 at 68. Ruiz filed a
       memorandum in support of pretrial release following the
       hearings. Dkt 13. The Government responded. Dkt 14. Judge
       Sheldon issued an order of detention pending trial on
       December 8, 2020. Dkt 17. He included a detailed specification
       of reasons. Id at 3–4. The United States Probation Office also
       recommended detention. Id at 3.
            Ruiz filed a motion to revoke the detention order on
       February 22, 2021, to which the Government responded.
       Dkts 27, 28. The parties argued the motion at a hearing on
       April 6, 2021. The record and evidence submitted at the hearings
       before Judge Sheldon were made part of the record. Counsel for
       Ruiz also offered two additional exhibits consisting of letters
       attesting to Ruiz’s character, which were admitted without
       objection. See Dkts 27-5, 27-7.
                2. Legal standard
            The Bail Reform Act of 1984 provides, “If a person is
       ordered detained by a magistrate judge, or by a person other than




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       a judge having original jurisdiction over the offense and other
       than a Federal appellate court, the person may file, with the court
       having original jurisdiction over the offense, a motion for
       revocation or amendment of the order. The motion shall be
       determined promptly.” 18 USC § 3145(b).
            A district court must review such decision by the magistrate
       judge de novo and independently determine whether to order the
       defendant detained. See United States v Reuben, 974 F2d 580, 586–
       86 (5th Cir 1992), citing United States v Fortna, 769 F2d 243, 249
       (5th Cir 1985). This may be based on evidence admitted at the
       original detention hearing, as well as any additional evidence
       offered on appeal. For example, see United States v Galvan,
       2020 WL 4604502, *2 (SD Tex) (citations omitted); United States v
       Farguson, 721 F Supp 128, 129 n 1 (ND Tex 1989).
                3. Analysis
            The Court has closely reviewed the subject detention order.
       It has also independently reviewed all evidence and testimony
       before Judge Sheldon at the hearings on the 24th and the 30th of
       November 2020. Dkts 24, 25. The Court has also considered the
       motion to revoke the detention order and the arguments of
       counsel presented at hearing.
            The Court finds and determines as follows upon de novo
       review.
                     a. Existence of rebuttable presumption
            Judge Sheldon found that, under the offenses charged, a
       rebuttable presumption arose pursuant to 18 USC § 3142(e)(3)
       that no condition or combination of conditions would reasonably
       assure Ruiz’s appearance and the safety of the community.
       Dkt 17 at 2. This is correct. Specifically, probable cause exists to
       believe that Ruiz committed the crime of carrying and using a
       firearm during and in relation to a crime of violence. See 18 USC
       § 3142(e)(3)(B), citing 18 USC § 924(c).
            The rebuttable presumption thus pertains to the analysis. It
       is Ruiz’s burden, then, to produce evidence rebutting the
       presumption that no condition or set of conditions that will
       reasonably assure the defendant’s appearance and the safety of




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       any other person and the community. United States v Sims, 801
       F Appx 324, 324–25 (5th Cir 2020, per curiam).
                     b. Rebuttal of presumption
            Judge Sheldon further found that Ruiz rebutted the
       presumption as to assurance of appearance and as to community
       safety. Dkt 17 at 2. Specifically, he found that Ruiz had been
       released on bond on the state charges in December 2019; his
       conditions included “GPS monitoring, curfew, no weapons,
       monthly reporting with his supervising officer, and no contact
       with the complaining witnesses”; and during the more than
       eleven months since release he “complied with all conditions of
       his bond.” Id at 4. Likewise, Ruiz presented evidence that “he has
       lived in the Houston area for his entire life, has no prior criminal
       history, and has strong family and community support.” Ibid.
            This finding by Judge Sheldon is correct.
                     c. Government proof requiring detention
            The Government disavowed before Judge Sheldon that it
       sought detention on the basis of risk as to nonappearance.
       Dkt 27-3 at 62, 66. The Government lightly argued before this
       Court that Ruiz has since been in jail awaiting trial for four
       months, sensitizing him to what he potentially faces in the years
       ahead and possibly incentivizing him to flee. Perhaps, but no
       evidence supported the assertion. Speculation isn’t enough.
       Detention based on perceived flight risk isn’t appropriate here.
            But Judge Sheldon found that the Government had
       established by “clear and convincing evidence” that “no
       condition or combination of conditions of release will reasonably
       assure the safety of any other person and the community.”
       Dkt 17 at 2. Specifically, he found that the “weight of evidence
       against the defendant is strong,” and that Ruiz faces a “lengthy
       period of incarceration if convicted.” Ibid. His findings in this
       regard were as follows:
                 Defendant, age 25, while acting in his official
                 capacity as a police officer with the Arcola
                 Police Department, is charged with sexually
                 assaulting two women on August 11, 2019 and
                 November 16, 2019. The Government also




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              alleges that he possessed a firearm during both
              these crimes of violence and obstructed justice
              during the November 16 encounter by
              intentionally turning off the audio portion of
              the dashboard camera in his patrol vehicle.
              If convicted, Defendant faces a real possibility
              of life imprisonment. His base offense level
              would be a Level 30 (97–121 months) but he
              would also be subject to several enhancements:
              four levels under § 2A3.1(b)(1) because the
              alleged offense involved force or threats; two
              levels under § 2A3.1(b)(3) because the victim
              was in Defendant’s care, custody or supervisory
              control; four levels under § 2A3.1(b)(5) because
              he allegedly abducted his victim; six levels under
              § 2H1.1(b)(1) because the alleged offense was
              committed under the color of state law; and two
              levels under § 3C1.1 for the alleged obstruction
              of justice by turning off the audio portion of the
              dashboard camera in his patrol vehicle. If all
              these enhancements are applied, Defendant’s
              offense level would be a Level 48 (life
              imprisonment begins at Level 43). Finally, these
              are calculations resulting from a conviction of
              only one of the two alleged victims and do not
              include the potential of two additional
              mandatory five-year consecutive sentences
              under 18 U.S.C. § 924(c) if convicted of
              Counts 3 and 5 in the Indictment.
              At the hearings, the Government presented
              testimony showing that the weight of evidence
              against Defendant is strong. On November 16,
              2019, Defendant pulled over a young woman
              late at night (who was under the influence of
              alcohol and potentially narcotics) and instructed
              her to follow him to another location. The
              victim tried driving to a different location, but
              Defendant pulled her over a second time. He




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              ordered her to follow him to a secluded area.
              While driving to the secluded area, the victim
              texted a friend stating that she thought she was
              going to die. Upon arrival, the Defendant
              allegedly forced the victim to perform oral sex.
              The victim alleges that Defendant told her that
              she needed to convince him not to have her
              thrown in jail. DNA evidence corroborated that
              Defendant’s semen was found on the victim’s
              pants. The Defendant does not deny this sexual
              encounter. He told his sister and investigators
              that it was consensual.
              After Defendant was arrested in November
              2019 related to the first alleged victim, a second
              alleged victim came forward. These two victims
              do not know each other. When the second
              victim’s boyfriend was arrested on August 11,
              2019, Defendant was called to the scene to
              translate and he subsequently drove the victim
              and her young son home in his police vehicle.
              At their house, Defendant allegedly locked the
              victim in her bedroom and then forcibly raped
              her. A family member came to the house and
              discovered Defendant in the victim’s bedroom,
              although the family member did not witness the
              alleged rape. The victim was illegally present in
              the United States and Defendant allegedly
              threatened her if she told anyone about their
              sexual encounter. Defendant does not dispute
              being present at the victim’s home but strongly
              denies either being in her bedroom and/or
              engaging in any sexual conduct with her.
              ...
              After his arrest in November 2019, Defendant
              was facing a sentence of 2–20 years for the state
              offenses. Defendant was subsequently indicted
              by a federal grand jury on November 10, 2020.
              As discussed supra, he faces a real possibility of




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                life imprisonment based on his presumptive
                score under the federal sentencing guidelines
                and the strength of the case against him.
                Therefore, there is clearly a change in
                circumstances from when he was released on
                bond in December 2019.
                Defendant asserts that conditions including
                home detention, weekly reporting to Pretrial
                Services, continued supervision with Fort Bend
                County, no firearms, and no contact with
                complaining witnesses—combined with his
                compliance with current bond conditions—
                demonstrate that there are conditions that will
                reasonably assure the safety of the community.
                While the Court acknowledges this is a
                persuasive argument, the Court respectfully
                disagrees.
                The two alleged victims of Defendant’s forcible
                rape still live approximately three miles from
                the Defendant and fear daily for their safety. As
                described supra, the nature and circumstances of
                these two alleged rapes—including that
                Defendant obstructed justice related to the first
                victim and threatened the second victim if she
                reported the rape—show there are no
                conditions or combination of conditions of
                release that will reasonably assure the safety of
                any other person and the community.
       Dkt 17 at 3–4.
           The Court has independently reviewed the evidence and
       finds that the above recitation is factually correct. The Court has
       also independently assessed the factors prescribed by 18 USC
       § 3142(g) and further finds as follows.
           As to the nature and circumstances of the offense charged, this factor
       weighs heavily in favor of detention. 18 USC § 3142(g)(1). The
       pertinent alleged crimes and related actions are extremely serious
       and involve the use of a firearm and physical violence.




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            As to the weight of evidence, this factor weighs in favor of
       detention. 18 USC § 3142(g)(2). The Government has credible
       evidence that Ruiz committed these acts, including (among other
       proof) DNA evidence.
            As to Ruiz’s history and characteristics, this factor weighs in favor
       of release. 18 USC § 3142(g)(3). Ruiz hasn’t previously been
       convicted of any crimes and behaved himself during pretrial
       release on state charges.
            As to the nature and seriousness of the danger to any person or the
       community, this factor weighs heavily in favor of detention.
       18 USC § 3142(g)(4). True, Ruiz didn’t commit any violent acts
       during the year that he was released on bond following the state
       charges. But given the nature of the alleged underlying conduct,
       the danger posed to the victims and to the community by any
       subsequent similar act is severe. And it simply can’t be ignored
       that Ruiz allegedly committed these offenses while in the line of
       duty as a police officer. The charges themselves address facts that
       Ruiz has demonstrated the intent and ability to conceal and
       obstruct revelation of his conduct. Likewise, to commit these
       types of acts—and again, for purposes here, the weight of the
       evidence is strongly against him—he had to disregard and
       overcome specific legal training in addition to the usual moral and
       legal constraints against such conduct. It can’t be assumed that
       his future good behavior is in any way assured.
                4. Conclusion
            The Government has met its burden to show by clear and
       convincing evidence that no condition or set of conditions of
       release would guarantee the community’s safety.
            The motion by Defendant Hector Aaron Ruiz to revoke the
       Magistrate Judge’s detention order is DENIED. Dkt 27.




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          SO ORDERED.


          Signed on April 15, 2021, at Houston, Texas.



                                 Hon. Charles Eskridge
                                 United States District Judge




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